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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 DEL RIO DIVISION

JAVIER CAZARES, Individually as                  §
Wrongful Death Beneficiary of J.J.C.,            §
Deceased Minor, et al                            §
                      Plaintiffs,                §
                                                 §
v.                                               § Civil Action No. 2:24-cv-000045-AM
                                                 §
JUAN MALDONADO, et al                            §
             Defendants.                         §


 ORDER ON DEFENDANT PEDRO “PETE” ARREDONDO’S MOTION TO DISMISS
              PLAINTIFFS’ FIRST AMENDED COMPLAINT



         After consideration of Defendant Pedro “Pete” Arredondo’s Motion to Dismiss pursuant

to Rules 12(b)(1) and 12(b)(6), this Court is of the opinion that it should be GRANTED.

         It is ORDERED that all of Plaintiffs’ claims against Defendant Arredondo are dismissed

with prejudice.

         This is a FINAL JUDGMENT.

Signed this______ day of _______________, 2024.


                                             _____________________________________
                                             CHIEF U.S. DISTRICT JUDGE ALIA MOSES




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